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U.S. DISTRICT COURT

AO 240 (Rev. 06/09) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form) WESTERN DIST ARKANSAS
See
UNITED STATES DISTRICT COURT uy 29 2011
for the
Wester District of Arkansas CERIS R. JOHNSON, Clerk
David Stebbins ) Deputy Clerk
Plaintiff )
v. ) Civil Action No. 11- 4087
Legal Aid of Arkansas )
Defendant )

APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Short Form)

I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings and
that I am entitled to the relief requested.

In support of this application, I answer the following questions under penalty of perjury:

1. If incarcerated. | am being held at:
If employed there, or have an account in the institution, I have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. I am also submitting a similar statement from any other institution where I was
incarcerated during the last six months.

2. Ifnot incarcerated. If 1am employed, my employer’s name and address are:
Not employed

My gross pay or wages are: §$ 0.00 , and my take-home pay or wages are: $ 0.00 per

(specify pay period) nia

3. Other Income. In the past 12 months, I have received income from the following sources (check all that apply):

(a) Business, profession, or other self-employment m Yes No
(b) Rent payments, interest, or dividends Yes No
(c) Pension, annuity, or life insurance payments 1 Yes . No
(d) Disability, or worker’s compensation payments mM Yes 7 No
(e) Gifts, or inheritances 7 Yes Wt No
(f) Any other sources 1 Yes No

If you answered “Yes” to any question above, describe below or on separate pages each source of money and

state the amount that you received and what you expect to receive in the future.
| receive $674 in monthly SSI.

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4. Amount of money that I have in cash or in a checking or savings account: § 121.45 .

5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial mstrument or

thing of value that I own, including any item of value held in someone else’s name (describe the property and its approximate
value):

No assets

6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
the amount of the monthly expense):

Housing: $200
Phone: $30
Student loan: $30

7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much I contribute to their support:
No dependants

8. Any debts or financial obligations (describe the amounts owed and to whom they are payable):
$44,000 in student loan debts and also $1000 in credit card debts.

Declaration: I declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims.

Pat j
Date: 07/18/2011

Applicant's signature

David Stebbins

Printed name

